

Roc-Le Triomphe Assoc., LLC v DeSouza (2024 NY Slip Op 05654)





Roc-Le Triomphe Assoc., LLC v DeSouza


2024 NY Slip Op 05654


Decided on November 14, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 14, 2024

Before: Webber, J.P., Singh, Gesmer, González, Scarpulla, JJ. 


Index No. 158529/20 Appeal No. 3017 Case No. 2023-03209 

[*1]Roc-Le Triomphe Associates, LLC, Plaintiff-Appellant,
vHelio DeSouza et al., Defendants-Respondents, Concept Salon Ltd., Defendant.


Borah, Goldstein, Altschuler, Nahins &amp; Goidel, P.C., New York (Paul N. Gruber of counsel), for appellant.
Schaeffer Venaglia Handler &amp; Fitzsimmons, LLP, New York (Bruce Handler of counsel), for respondents.



Appeal from judgment, Supreme Court, New York County (Paul A. Goetz, J.), entered September 13, 2022, which dismissed the complaint as against defendants Helio DeSouza and Andrea Piccolo, unanimously dismissed, without costs.
Plaintiff's appeal of the judgment does not bring up for review the motion court's prior order, granting summary judgment for defendants Helio DeSouza and Andrea Piccolo, as it was a final order that dismissed all claims asserted against them as guarantors of the tenant's lease obligations (see Geronimo v Guzman, 216 AD3d 455, 455 [1st Dept 2023]; see also Burke v Crosson, 85 NY2d 10, 15-16 [1995]). The subsequent entry of judgment was a mere "ministerial act" that did not excuse plaintiff's failure to file a notice of appeal of the summary judgment order (see Geronimo, 216 AD3d at 455; see also Burns v Pace Univ., 25 AD3d 334, 335 [1st Dept 2006], lv denied 7 NY3d 705 [2006]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 14, 2024








